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   5
       Attorney(s) for Social Positioning Input Systems, LLC
   6

   7
                              UNITED STATES DISTRICT COURT
   8
                            CENTRAL DISTRICT OF CALIFORNIA
   9

  10                                    WESTERN DIVISION
  11

  12   SOCIAL POSITIONING INPUT
       SYSTEMS, LLC,
  13
                                                Case No. 2:22-cv- 9003-CAS-MAR
  14                 Plaintiff,
                                                ANSWER TO COUNTERCLAIMS
  15
              v.
  16                                            DEMAND FOR JURY TRIAL
       LIVEVIEWGPS, INC.,
  17

  18                 Defendant.
  19

  20
             Now comes Plaintiff, Social Positioning Input Systems, LLC (“Plaintiff,”
  21
       “Counterclaim Defendant,” and/or “SPIS”), by and through undersigned counsel,
  22
       pursuant to Federal Rules of Civil Procedure 12, without admission of the legal
  23
       sufficiency thereof and responding only to the factual allegations therein, and states as
  24
       follows for its Answer and Defenses to Defendant and Counter Plaintiff LiveViewGPS,
  25
       Inc.’s (“Defendant,” “Counterclaim Plaintiff,” and/or “LiveViewGPS”) Counterclaims
  26
       [Doc. 12] (hereafter the “Counterclaims”) as follows
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                   PLAINTIFF’S ANSWERS AND DEFENSES TO DEFENDANT’S COUNTERCLAIMS
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   1                                        PARTIES
   2         1.     SPIS has insufficient knowledge of the allegations contained in paragraph
   3   1 and therefore denies same.
   4         2.     Admitted.
   5                                     JURISDICTION
   6         3.     SPIS incorporates by reference each of its answers in paragraphs 1-2
   7   above.
   8         4.     Admitted.
   9         5.     Admitted.
  10         6.     SPIS admits that venue is proper. SPIS denies any remaining allegations
  11   in paragraph 6.
  12                                        COUNT I
  13         7.     SPIS incorporates by reference each of its answers in paragraphs 1-6
  14   above.
  15         8.     SPIS admits that an actual controversy exists concerning infringement of
  16   the ‘365 Patent. SPIS denies any remaining allegations contained in paragraph 8.
  17         9.     Denied.
  18         10.    SPIS admits that LiveViewGPS seeks a declaratory judgment. SPIS denies
  19   any remaining allegations contained in paragraph 10.
  20                                        COUNT II
  21         11.    SPIS incorporates by reference each of its answers in paragraphs 1-10
  22   above.
  23         12.    SPIS admits that an actual controversy exists concerning infringement of
  24   the ‘365 Patent. SPIS denies any remaining allegations contained in paragraph 12.
  25         13.    Denied.
  26         14.    Denied.
  27         15.    SPIS admits that LiveViewGPS seeks a declaratory judgment. SPIS denies
  28   any remaining allegations contained in paragraph 15.
                                                  2
                   PLAINTIFF’S ANSWERS AND DEFENSES TO DEFENDANT’S COUNTERCLAIMS
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   1         16.    Denied.
   2                                     PRAYER FOR RELIEF
   3         To the extent a response is required, SPIS denies that LiveViewGPS is entitled
   4   to any of the relief requested.
   5   Dated: January 22, 2023                Respectfully submitted,
   6
                                              /s/Stephen M. Lobbin
   7                                          Stephen M. Lobbin
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                                              (949) 636-1391 (Phone)
  11

  12                                          Attorney(s) for Plaintiff

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  14
                                  CERTIFICATE OF SERVICE

  15
             I hereby certify that on January 22, 2023, I electronically transmitted the

  16
       foregoing document using the CM/ECF system for filing, which will transmit the

  17
       document electronically to all registered participants as identified on the Notice of

  18
       Electronic Filing, and paper copies have been served on those indicated as non-

  19
       registered participants.

  20
                                              /s/ Stephen M. Lobbin
  21                                          Stephen M. Lobbin
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                   PLAINTIFF’S ANSWERS AND DEFENSES TO DEFENDANT’S COUNTERCLAIMS
